Case 2:08-cv-02100-JTF-cgc Document 487 Filed 09/10/14 Page 1 of 9                  PageID 13784



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION

                                               )
 EDWARD MONROE, FABIAN                         )
 MOORE, and TIMOTHY WILLIAMS,                  )
 on behalf of themselves and all other         )
 similarly situated employees,                 )
                                               )
                         Plaintiffs,           )
                                               )
 v.                                            )             Case No. 2:08-cv-02100-JTF-cgc
                                               )
 FTS USA, LLC and                              )
 UNITEK USA, LLC,                              )
                                               )
                         Defendants.           )
                                               )

      ORDER GRANTING PLAINTIFFS’ MOTION FOR REVIEW OF THE CLERK’S
       TAXING ORDER AND GRANTING PLAINTIFFS’ LITIGATION EXPENSES

           Before the Court is Plaintiffs’ Edward Monroe, et al., Motion for Review of the Clerk’s

 Order Taxing Costs. After review of the Order, this Court finds that additional costs should be

 awarded.

      I.      BACKGROUND

      A. Procedural History of This Case

           For a detailed procedural history of this case, refer to this Court’s Order granting

 attorneys’ fees filed on July 28, 2014. (ECF No. 481).

      B. Motion for Review of the Clerk’s Order Taxing Costs

           On November 30, 2012, Plaintiffs filed their Bill of Costs for $41,446.09. (ECF No.

 409). On October 15, 2013, Defendants filed objections to Plaintiffs’ Bill of Costs. (ECF No.

 471). Additionally on October 15, 2013, Plaintiffs filed an Amended Bill of Costs, including

 approximately 600 pages of additional support, seeking a reduced amount of $40,358.78. (ECF

                                                   1
Case 2:08-cv-02100-JTF-cgc Document 487 Filed 09/10/14 Page 2 of 9                                    PageID 13785



 No. 472). On October 25, 2013, Defendants filed objections to Plaintiffs’ Amended Bill of

 Costs. (ECF No. 473). The Clerk of Courts filed his Order on January 28, 2014, in favor of the

 Plaintiffs for $17,048.18 as opposed to the $40,358.78 sought in Plaintiffs’ Amended Bill of

 Cost. (ECF No. 475).1 The excluded $23,310.60 consisted of Travel Expenses for Plaintiffs

 ($14,967.44), Travel Expenses for Plaintiffs’ Attorneys ($713.30),2 Witness Fees for Party

 Witnesses ($3,011.56), Trial Transcripts ($4,371.80), Pro Hac Vice Fees ($140.00), and Process

 Server Fees ($106.50).

           On February 3, 2014, Plaintiffs filed a Motion for Review of the Clerk’s Order Taxing

 Costs, ECF No. 476, which seeks the taxable costs excluded by the Clerk. Plaintiffs’ Motion for

 Attorneys’ Fees and Costs, ECF No. 408, was granted to the extent of attorneys’ fees. (ECF No.

 481). This Court is still to consider the out-of-pocket litigation expenses.3 As such, this Court

 will first consider the review of the Order relating to taxable costs and follow with the analysis

 for out-of-pocket litigation expenses.

     II.      LEGAL STANDARD

           Fed. R. Civ. P. 54(d) provides that “costs—other than attorney’s fees—should be allowed

 to the prevailing party.” Fed. R. Civ. P. 54(d). This language has long created “a presumption in

 favor of awarding costs.” Singleton v. Smith, 241 F.3d 534, 539 (6th Cir. 2001) (citing White &

 1
  The $17,048.18 consisted of Transcripts from Depositions, Photocopying Expenses, Duplicative Docket Fees,
 Postage and Courier Fees, and Telephone and Video Conference Fees. This amount is adopted by the Court.
 2
   This $713.30 listed as Travel Expenses for Plaintiffs’ Attorneys is not found within Plaintiffs’ Amended Bill of
 Costs as a separate category. For instance, when you go through Plaintiffs’ Amended Bill of Costs, ECF No. 475,
 and total all travel expenses (including those objected to by Defendants as Attorney Travel Expenses), you come to a
 total of $14,967.44. As noted above, this amount has already been subtracted; and thus, the $713.30 is a double
 reduction and superfluous. As such, the $713.30 will be added in Plaintiffs’ favor, further discussed below.
 3
  There is a discrepancy in the amount of dollars sought for out-of-pocket litigation expenses. In Plaintiffs’
 Memorandum of Law in Support of Motion for Attorneys’ Fees and Costs, Plaintiffs seek $61,987.77 in out-of-
 pocket litigation expenses. (ECF No. 408-1 at 26). Additionally, in Exhibit 3 attached to the same Memorandum,
 Plaintiffs’, providing a much more detailed analysis and itemized list, seek $59,954.72 in out-of-pocket litigation
 expenses. (ECF No. 408-5 at 2). Lastly, in Plaintiffs’ Motion for Review of the Clerk’s Order Taxing Costs,
 Plaintiffs’ seek a total of $60,851.00 in out-of-pocket litigation expenses. (ECF No. 476 at 11).

                                                           2
Case 2:08-cv-02100-JTF-cgc Document 487 Filed 09/10/14 Page 3 of 9                      PageID 13786



 White, Inc. v. Am. Hosp. Supply Corp., 786 F.2d 728, 730 (6th Cir. 1986)). Most importantly,

 Rule 54(d) allows “the court [to] review the clerk’s action.” Fed. R. Civ. P. 54(d). The Sixth

 Circuit in Singleton identified numerous factors that a trial court may consider in overcoming the

 presumption in favor of costs, such as: the losing party’s good faith; the difficulty of the case; the

 winning party’s behavior; the necessity of the costs; and the indigency of the losing party.

 Singleton, 241 F.3d at 539 (citing White, 786 F.2d at730)). “The costs that courts may tax under

 Rule 54(d)(1) are confined to the costs itemized in 28 U.S.C. § 1920.” Sams v. State Attorneys

 Gen., 481 F.3d 355, 359 (6th Cir. 2007) (citing Crawford Fitting Co. v. J.T. Gibbons, Inc., 482

 U.S. 437, 441 (1987)).

        To the extent that costs are not recoverable in accord with § 1920, a prevailing party in a

 Fair Labor Standards Act (“FLSA”) case may still recover under 29 U.S.C. § 216(b). See 29

 U.S.C. § 216(b) (“The court in such action shall, in addition to any judgment awarded to the

 plaintiff or plaintiffs, allow a reasonable attorney’s fee to be paid by the defendant, and costs of

 the action.” (emphasis added)). Under FLSA, § 216(b) makes no reference to limitations found

 in other statutes, unlike Fed. R. Civ. P. 54(d) which is limited by 28 U.S.C. § 1920. See Fegley

 v. Higgins, 19 F.3d 1126, 1134 (6th Cir. 1994) (stating the objective of this provision is “to

 insure effective access to the judicial process by providing” an incentive for attorneys (quoting

 United Slate, Local 307 v. G & M Roofing and Sheet Metal Co., 732 F.2d 495, 502 (6th Cir.

 1984))). “The award of attorney’s fees and costs to the prevailing party is mandatory under this

 section, but the amount of the award is within the discretion of the court.” Rushing v. Shelby

 Cnty. Gov’t, 8 F. Supp. 2d 737, 747 (W.D. Tenn. 1997) (citing Fegley, 19 F.3d at 1134)

 (emphasis added); see Ramos v. Lamm, 713 F.2d 546, 559 (10th Cir. 1983) (stating that parties

 may recover all reasonable “out-of-pocket costs not normally absorbed as part of law firm



                                                   3
Case 2:08-cv-02100-JTF-cgc Document 487 Filed 09/10/14 Page 4 of 9                      PageID 13787



 overhead”). The determination of what is reasonable “is within the sound discretion of the

 district court although it is required to provide a ‘concise but clear explanation’ for the award.”

 Black v. LOJAC Enters., Inc., 117 F.3d 1420 (6th Cir. 1997) (quoting Hensley v. Eckerhart, 461

 U.S. 424, 437 (1983)); see also Almendarez v. J.T.T. Enters. Corp., No. JKD 06-68, 2010 U.S.

 Dist. LEXIS 88043, at *21 (D. Md. Aug. 25, 2010) (“Examples of types of costs . . . include

 necessary travel, depositions and transcripts, computer research, postage, court costs, and

 photocopying.”); Renfro v. Ind. Mich. Power Co., No. 1:99-cv-877, 2007 U.S. Dist. LEXIS

 15773, at *4 (W.D. Mich. Mar. 6, 2007) (including costs of photocopies, delivery services, long-

 distance telephone charges, telephone reimbursements, secretarial overtime wages, mileage,

 meals, parking, airfare, other travel-related expenses, service fees, filing fees, witness fees,

 transcript fees, and mediation fees).

    III.      ANALYSIS

           Plaintiffs move this Court to review the Clerk’s Order and award additional costs of

 $18,692.30 for party and counsel travel and party witness costs under FLSA. See 29 U.S.C. §

 216(b). Additionally, Plaintiffs seek $4,371.80 for trial transcripts under Fed. R. Civ. P. 54(d)

 and 28 U.S.C. § 1920 or, in the alternative, under the FLSA fee-shifting statute. Plaintiffs also

 move for an additional $60,851.00 in out-of-pocket litigation expenses under 29 U.S.C. § 216(b).

    A. Taxable Costs

           i. Travel Expenses for Plaintiffs

           Defendants argue that Plaintiffs’ travel expenses are not recoverable, and the Order

 Taxing Costs, ECF No. 476, supports this conclusion. In Plaintiffs’ Motion for Review of the

 Clerk’s Order Taxing Costs, Plaintiffs seek this amount under FLSA’s fee-shifting statute and in

 the alternative as a component of Plaintiffs’ attorney fee award. As such, this Court adopts this



                                                   4
Case 2:08-cv-02100-JTF-cgc Document 487 Filed 09/10/14 Page 5 of 9                       PageID 13788



 portion of the Order Taxing Costs and will consider the $14,967.44 within the out-of-pocket

 litigation expenses analysis.

         ii. Travel Expenses for Plaintiffs’ Attorneys

         As noted above in Footnote 2, $713.30 was already subtracted by its inclusion within the

 $14,967.44 relating to Travel Expenses for Plaintiffs. These fees should not be categorized as

 Travel Expenses for Plaintiffs’ Attorneys, as they were expenses incurred in the transportation of

 witnesses. As such, this Court modifies this portion adding the $713.30 back to the Net Award

 of Costs to Plaintiff.

         iii. Witness Fees for Party Witnesses

         As stated by the Clerk, costs associated to Party Witnesses are not recoverable under 28

 U.S.C. § 1920. As such, this Court adopts this portion of the Order Taxing Costs and will

 consider the $3,011.56 as part of the out-of-pocket litigation expenses analysis.

         iv. Trial Transcripts

         Generally, trial transcripts are not necessary in litigation, as they are merely a

 convenience for counsel. See 28 U.S.C. § 1920(2) (allowing recovery “for printed or

 electronically recorded transcripts necessarily obtained for use in the case.” (emphasis added)).

 In this case, however, the Court finds that Plaintiffs’ use of transcripts was absolutely necessary

 to adequately respond to Defendants’ motions.

         The docket alone provides a telling story of how and why Plaintiffs used these trial

 transcripts over a nearly two-year period responding to numerous post-trial motions and not

 merely for convenience. See Endress + Hauser, Inc. v. Hawk Measurement Sys., 922 F. Supp.

 158 (S.D. Ind. 1996); see also Kraeger v. Univ. of Pa., 535 F. Supp. 233, 234 (W.D. Pa. 1982)

 (stating a party is entitled to trial transcripts when necessary for use in opposing party’s post-trial



                                                    5
Case 2:08-cv-02100-JTF-cgc Document 487 Filed 09/10/14 Page 6 of 9                        PageID 13789



 motions). The payment for trial transcripts, as shown by the record, matches the dates of many

 of the post-trial motions. Payments came on September 26, 2011, October 3, 2011, and April 23,

 2012. (ECF No. 472). On September 26, 2011, Plaintiffs had to respond to a Motion for

 Judgment as a Matter of Law. (ECF No. 346). Plaintiffs’ response was filed two days later with

 numerous citations to the trial transcript. (ECF. No. 349). On October 4, 2011, Defendants

 again moved for reconsideration of the Court’s prior ruling. (ECF No. 355). Again, as Plaintiffs

 point out, the trial transcript was cited in defense of their position. (ECF No. 360).    In short, the

 Plaintiffs’ use of the trial transcripts to respond to numerous post-trial motions is consistent.

 Additionally, as Defendants show, in determining whether trial transcripts are necessary, the

 court looks at whether time is of the essence, the length of the trial, and the complexity of the

 issues. See White, 786 F.2d at 729-32. In this case, litigation consisted of a class size of

 approximately 300 Plaintiffs with 15 testifying Plaintiffs over a now six-year time span. This

 case was protracted and complex, and trial transcripts were necessary to fully respond to

 numerous dispositive motions filed by Defendants. As such, the $4,371.80 is granted as a

 taxable cost, and the Order Taxing Costs is modified to this extent.

        To summarize, the Order Taxing Costs is modified to include an additional $5,085.10 for

 a total of $22,133.28 taxable costs. Further, $17,979.00 will be considered below under FLSA.

    B. Out-of-Pocket Litigation Expenses (Non-Taxable Costs)

        As noted in Footnote 3, there is a discrepancy in the amount of dollars sought for out-of-

 pocket litigation expenses. In Plaintiffs’ Memorandum of Law in Support of Motion for

 Attorneys’ Fees and Costs, Plaintiffs seek $61,987.77. (ECF No. 408-1 at 26). Additionally, in

 Exhibit 3 attached to the same Memorandum, Plaintiffs’, providing a much more detailed

 analysis and itemized list, seek $59,954.72. (ECF No. 408-5 at 2). Lastly, in Plaintiffs’ Motion



                                                   6
Case 2:08-cv-02100-JTF-cgc Document 487 Filed 09/10/14 Page 7 of 9                     PageID 13790



 for Review of the Clerk’s Order Taxing Costs, Plaintiffs’ seek $60,851.00. (ECF No. 476 at 11).

 To the extent that Plaintiffs seek $60,851.00 in out-of-pocket litigation expenses in their current

 motion, it is denied. The Court will consider the itemized $59,954.72 from ECF No. 408-5 and

 the $17,979.00 carried over from above for a total of $77,933.72.

        Plaintiffs’ itemized listings and supporting documentation seeks recovery of the

 following expenses: Telephone ($63.06); Courier Service ($135.00); Travel Expenses

 ($38,665.19); Federal Express/Shipping ($2,127.50); In-House Postage ($3,517.74); Research

 Online ($3,465.72); Other Litigation Costs ($2,136.32); Fax Fee ($43.46); and Trial Consultant

 ($9,800.73); plus the above Travel Expenses for Plaintiffs ($14,967.44); and Witness Fees for

 Party Witnesses ($3,011.56). For the reasons below, this Court grants the total of $72,268.62 in

 out-of-pocket litigation expenses in favor of the Plaintiffs.

        Defendants object to this recovery as giving the Plaintiffs “two bites of the apple.” Yet,

 the law allows a more expansive recovery for a prevailing party for all reasonable costs of

 litigation in an FLSA case. See Smith v. Diffee Ford-Lincoln-Mercury, Inc., 298 F.2d 955, 969

 (10th Cir. 2002) (citing Herold v. Hajoca Corp., 864 F.2d 317, 323 (4th Cir. 1988) (stating that

 cost recover under FLSA exceeds that of Fed. R. Civ. P. 54(d) allowing for more expansive

 recovery)). As such, this Court will consider whether the expenses were a reasonable expense of

 litigation that is recoverable under 29 U.S.C. § 216(b).

        Additionally, Defendants cite to many seventh circuit cases that have held that 29 U.S.C.

 § 216(b) costs are similarly limited by 28 U.S.C. § 1920. The Court refuses to adopt a rule of

 law that is contrary to the legislative intent. See United Slate, 732 F.2d at 502 (“‘Obviously

 Congress intended that the wronged employee should receive his full wages . . . without

 incurring any expense for legal fees or costs.’” (quoting Maddrix v. Dize, 153 F.2d 274, 275-76



                                                   7
Case 2:08-cv-02100-JTF-cgc Document 487 Filed 09/10/14 Page 8 of 9                     PageID 13791



 (4th Cir. 1946)) (alteration in original)). Defendants’ stance argues for § 216(b) to have similar

 limitations as Fed. R. Civ. P. 54(d). See Fed. R. Civ. P. 54(d) (acknowledging that attorney’s

 fees are not regularly recoverable). With such limitations already applicable under Fed. R. Civ.

 P. 54(d), Defendants’ argument would make § 216(b) legislation superfluous and ignore the

 legislative intent for an expansive recovery system of attorney’s fees and litigation expenses.

 See id.; Caperna v. Williams-Bauer Corp., 57 N.Y.S.2d 254, 255 (N.Y. 1945) (stating that

 anything less would not fully compensate a plaintiff). “Costs[, however] . . . include all

 reasonable out-of-pocket expenditures.” See Stanley, 913 P.2d at 82 (citing Shorter, 678 F.

 Supp. at 726). As such, the Court will consider the reasonableness of all expenses listed in

 Plaintiffs’ submissions (ECF Nos. 408-5, 472).

        There are eleven categories of expenses that Plaintiffs wish to recover. (ECF Nos. 408-5,

 472). First, Plaintiffs seek $63.06 in telephone charges. Typically, telephone charges are

 absorbed in an attorney’s rate as general law firm overhead due to their nature of monthly

 charges; and thus, these fees are not “normally charged to a fee-paying client.” See Ramos, 713

 F.2d at 559 (stating that parties may recover all reasonable “out-of-pocket costs not normally

 absorbed as part of law firm overhead”); see also Kabore v. Anchor Staffing, Inc., No. L-10-

 3204, 2012 U.S. Dist. LEXIS 149761, at *27 (D. Md. Oct. 17, 2012) (finding “costs may include

 ‘those reasonable out-of-pocket expenses incurred by the attorney which are normally charged to

 a fee-paying client’” (quoting Spell v. McDaniel, 852 F.2d 762, 771 (4th Cir. 1988))). As such,

 the request for $63.06 in telephone charges is denied.

        Second, Plaintiffs seek $135.00 in courier services; $38,665.19 in attorney travel

 expenses; $2,127.50 in shipping fees; $3,517.74 in in-house postage fees; $43.46 in fax fees;

 $9,800.73 in trial consultant fees; $14,967.44 in travel expenses for Plaintiffs; and $3,011.56 in



                                                  8
Case 2:08-cv-02100-JTF-cgc Document 487 Filed 09/10/14 Page 9 of 9                      PageID 13792



 witness fees for party witnesses. In light of the expansive, protracted, and complicated nature of

 this case, the need to notify 300 plaintiffs, and the numerous depositions taken, the Court grants

 the $72,268.62 as recoverable costs.

          Third, Plaintiffs seek $3,465.72 in online research costs. Similar to that of a telephone

 charge, online research is usually a monthly fee in which the law firm has set up a specific plan

 to fit their everyday needs. As such, online research costs are generally included in the

 attorney’s rate as a function of general law firm overhead. Plaintiffs have not established that the

 research costs are above and beyond their normal overhead. Plaintiffs cite Wehr v. Burroughs

 Corp. for the proposition that such research is reasonable in contemporary legal practice. See

 Wehr v. Burroughs Corp., 619 F.2d 276, 285 (3d Cir. 1980). However, these fees are

 nonetheless included in the general overhead costs of contemporary legal practice. Plaintiffs’

 request for $3,465.72 in research costs is denied.

          Fourth, Plaintiffs seek $2,136.32 in other litigation costs. These costs, unlike above, are

 not broken down in identifiable categories. (ECF No. 408-5). The Court is unable to identify

 whether the costs were reasonable without more information. As such, this Court denies the

 request for $2,136.32.

    IV.      CONCLUSION

          In sum, this Court grants Plaintiffs $22,133.28 under Fed. R. Civ. P. 54(d) and 28 U.S.C.

 § 1920, and $72,268.62 under 29 U.S.C. § 216(b) as reasonable litigation expenses. The Order

 Taxing Costs is Modified consistent with this Order and Grants Plaintiffs motion for out-of-

 pocket litigation expenses.

          IT IS SO ORDERED on this 10th day of September 2014.

                                                        s/ John T. Fowlkes, Jr._____________
                                                        JOHN T. FOWLKES, JR.
                                                        UNITED STATES DISTRICT JUDGE
                                                   9
